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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF KANSAS


LOCAL 191 I.B.E.W. JOINT TRUST FUNDS,)
Individually and on Behalf of All Others  )
Similarly Situated,                       )
                                          )
                              Plaintiff,  )   Civil Action No. ________________
                                                               12-cv-2046 KHV/DJW
                                          )
       vs.                                )
                                          )   DEMAND FOR JURY TRIAL
COLLECTIVE BRANDS, INC., MATTHEW )
E. RUBEL, DOUGLAS J. TREFF and            )   CLASS ACTION
DOUGLAS G. BOESSEN,                       )
                                          )
                              Defendants.
                                          )
                                          )

      COMPLAINT FOR VIOLATION OF THE FEDERAL SECURITIES LAWS
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                                        INTRODUCTION

       1.      This is a securities class action on behalf of all persons who purchased or otherwise

acquired the common stock of Collective Brands, Inc. (“Collective Brands” or the “Company”)

between December 1, 2010 and May 24, 2011, inclusive (the “Class Period”), against Collective

Brands and certain of its officers and/or directors for violations of the Securities Exchange Act of

1934 (the “1934 Act”).

       2.      Collective Brands operates a hybrid business model that includes retail, wholesale,

licensing, digital commerce and franchising businesses. Collective Brands is the holding company

for three lines of business: Payless ShoeSource (“Payless”), Collective Brands Performance +

Lifestyle Group (“PLG”), and Collective Licensing (“CLI”). The Company operates its business in

four segments: Payless Domestic, Payless International, PLG Wholesale and PLG Retail. The

Company was formerly known as Payless ShoeSource, Inc. and changed its name to Collective

Brands in August 2007.

       3.      During the Class Period, defendants issued materially false and misleading statements

regarding the Company’s business and financial results. As a result of defendants’ false statements,

Collective Brands stock traded at artificially inflated prices during the Class Period, reaching a high

of $23.44 per share on February 18, 2011.

       4.      On May 24, 2011, after the market closed, the Company announced its financial

results for its first fiscal quarter ended April 30, 2011.1 The Company reported earnings of $26.4

million or $0.42 diluted earnings per share (“EPS”) for the first quarter, which was nearly 50% less

than the $0.82 diluted EPS expected by analysts. The Company further reported that net sales




1
       Collective Brands’ fiscal year ends the last Saturday in January.

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declined 1.1% to $869.0 million, due in substantial part to the Company’s 7.4% comparable store

sales decline in its Payless Domestic segment, offset by sales growth of 22.5% in PLG.

        5.       On this news, Collective Brands stock collapsed $3.06 per share to close at $15.31 per

share on May 25, 2011, a one-day decline of nearly 17% on volume of 10 million shares.

        6.       The true facts, which were known by defendants but concealed from the investing

public during the Class Period, were as follows:

                 (a)    the Company’s inventory level for Payless remained at excessively high levels

and aging inventory for its Payless segment was a concern;

                 (b)    sales at the Company’s flagship Payless stores were significantly worse than

expected due to deteriorating customer demand, including for its “expressive” consumers; and

                 (c)    the Company was forced to mark down Payless’s bloated inventory at

significant discounts, which adversely affected the Company’s margins and financial results for its

first quarter.

        7.       As a result of defendants’ false statements and omissions, Collective Brands common

stock traded at artificially inflated prices during the Class Period. However, after the above

revelations seeped into the market, the Company’s shares were hammered by massive sales, sending

them down nearly 35% from their Class Period high.

                                  JURISDICTION AND VENUE

        8.       Jurisdiction is conferred by §27 of the 1934 Act. The claims asserted herein arise

under §§10(b) and 20(a) of the 1934 Act, 15 U.S.C. §§78j(b) and 78t(a), and SEC Rule 10b-5, 17

C.F.R. §240.10b-5.

        9.       Venue is proper in this District pursuant to §27 of the 1934 Act. Collective Brands is

headquartered in Topeka, Kansas, and many of the false and misleading statements were

disseminated within this District.

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       10.     In connection with the acts alleged in this complaint, defendants, directly or

indirectly, used the means and instrumentalities of interstate commerce, including, but not limited to,

the mails, interstate telephone communications and the facilities of the national securities markets.

                                             PARTIES

       11.     Plaintiff Local 191 I.B.E.W. Joint Trust Funds purchased the common stock of

Collective Brands during the Class Period as set forth in the certification attached hereto and was

damaged as the result of defendants’ wrongdoing as alleged in this complaint.

       12.     Defendant Collective Brands operates a hybrid business model that includes retail,

wholesale, licensing, digital commerce and franchising businesses. The Company’s principal

executive offices are located at 3231 Southeast Sixth Avenue, Topeka, Kansas.

       13.     Defendant Matthew E. Rubel (“Rubel”) was, at all relevant times, the Company’s

Chairman of the Board, Chief Executive Officer (“CEO”) and a director. On June 15, 2011, Rubel

resigned from the Company.

       14.     Defendant Douglas J. Treff (“Treff”) is, and at all relevant time has been, the

Company’s Executive Vice President and Chief Administrative Officer.

       15.     Defendant Douglas G. Boessen (“Boessen”) is, and at all relevant times has been, the

Company’s Chief Financial Officer (“CFO”).

       16.     Defendants Rubel, Treff and Boessen (the “Individual Defendants”), because of their

positions with the Company, possessed the power and authority to control the contents of Collective

Brands’ quarterly reports, press releases and presentations to securities analysts, money and portfolio

managers and institutional investors, i.e., the market. They were provided with copies of the

Company’s reports and press releases alleged herein to be misleading prior to or shortly after their

issuance and had the ability and opportunity to prevent their issuance or cause them to be corrected.

Because of their positions with the Company, and their access to material non-public information

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available to them but not to the public, the Individual Defendants knew that the adverse facts

specified herein had not been disclosed to and were being concealed from the public and that the

positive representations being made were then materially false and misleading. The Individual

Defendants are liable for the false statements pleaded herein.

                  FRAUDULENT SCHEME AND COURSE OF BUSINESS

       17.     Defendants are liable for: (i) making false statements; or (ii) failing to disclose

adverse facts known to them about Collective Brands. Defendants’ fraudulent scheme and course of

business that operated as a fraud or deceit on purchasers of Collective Brands common stock was a

success, as it: (i) deceived the investing public regarding Collective Brands’ prospects and business;

(ii) artificially inflated the price of Collective Brands common stock; and (iii) caused plaintiff and

other members of the Class to purchase Collective Brands common stock at inflated prices.

       18.     The top officers and directors of Collective Brands also benefited, as the Company’s

purportedly favorable operating results contributed to the compensation paid to the top officers

during the Class Period, some of whom received as much as $7.8 million per year.

                                         BACKGROUND

       19.     Collective Brands operates a hybrid business model that includes retail, wholesale,

licensing, digital commerce and franchising businesses. Collective Brands is the holding company

for three business lines: Payless, PLG, and CLI. The Company operates its business in four

segments: Payless Domestic, Payless International, PLG Wholesale and PLG Retail. The Payless

Domestic segment consists of domestic retail stores under the Payless ShoeSource name, as well as

the Company’s sourcing unit and CLI. The Payless International reporting segment consists of

international retail stores under the Payless ShoeSource name in Canada, the South American

Region, the Central American Region, Puerto Rico and the United States Virgin Islands, as well as

the franchising arrangements under the Payless ShoeSource name. The PLG Wholesale segment

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consists of PLG’s global wholesale operations, as well as dealer operations. The PLG Retail

segment consists of results from PLG’s Stride Rite Children’s stores and Stride Rite Outlet stores.

Collective Brands is located in Topeka, Kansas.

       20.     Payless is the Company’s largest business segment – over 60% of its revenue was

derived from this segment in 2010. Beginning in the fourth quarter of 2009, Payless began

dramatically losing market share due to a series of merchandizing and inventory missteps, and the

Company’s inventories began increasing significantly more than sales. After the Company

announced disappointing second quarter 2010 results due to a lack of trend right merchandise in key

categories, the Company announced its turnaround strategy, which would re-focus its main target

customer from the “low-priced” consumer to the “expressive” consumer. The Company defined the

expressive consumer as being a customer who values fashionable footwear but demands a great

price. According to the Company, the new focus on trendier fashions and away from bargain

conscious consumers would drive sales of higher priced products and increase average selling price.

Moreover, the focus away from the bargain shoppers would help support top-line sales growth and

gross margin. The Company further announced that it had corrected its inventory management

issues and its current inventory mix was inline.

               DEFENDANTS’ FALSE AND MISLEADING STATEMENTS
                      ISSUED DURING THE CLASS PERIOD

       21.     On December 1, 2010, Collective Brands issued a press release announcing its

financial results for its third fiscal quarter ended October 30, 2010. The Company reported earnings

of $47.6 million, or $0.75 diluted EPS, and a net sales increase of 1.7% to $881.8 million for the

quarter. The Company further reported its long-term guidance, setting a target to grow EPS by 12%

to 16% annually, driven by 3% to 5% net sales growth. The release stated in part:

              “Collective Brands had a strong quarter, as we again delivered a double-digit
       percentage earnings increase. Our business model is working well – offering
       customers great brands across multiple categories, price points, distribution channels
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       and geographies while leveraging shared platforms and capabilities,” said Matthew
       E. Rubel, Chairman, Chief Executive Officer and President of Collective Brands, Inc.
       “Our Performance & Lifestyle Group delivered sales growth in every brand – Sperry
       Top-Sider, Saucony, Keds and Stride Rite – and in each distribution channel:
       wholesale, retail, and e-commerce. Payless sales and earnings again showed strong
       growth internationally, while the domestic business showed improvement from the
       second quarter.”

       22.     Based on these statements, Collective Brands stock increased $2.79 per share to close

at $20.38 per share, a one-day increase of nearly 16% on high volume, on December 2, 2010.

       23.     On February 18, 2011, Collective Brands stock reached its Class Period high, closing

at $23.44 per share.

       24.     On March 2, 2011, Collective Brands issued a press release announcing its financial

results for its fourth quarter and fiscal year ended January 29, 2011. The Company reported a fourth

quarter 2010 net loss of $10.1 million, or $0.16 diluted EPS, and a net sales increase of 4.3% to

$773.8 million for the quarter. The Company further reported full year 2010 net earnings of $112.8

million, or $1.75 diluted EPS, and a net sales increase of 2% to $3.38 billion for the year. Collective

Brands reiterated its long-term guidance for the Company. The release stated in part:

               “We finished a strong year with a solid fourth quarter as our portfolio of
       leading brands and innovative, on-trend products connected with consumers across
       geographies and price points. As a result, we delivered improved financial results for
       both the fourth quarter and the year,” said Matthew E. Rubel, Chairman, Chief
       Executive Officer and President of Collective Brands, Inc. “In aggregate, the strength
       of our hybrid business model enabled us to grow in a variety of ways in 2010. PLG
       delivered record annual sales and earnings. Payless successfully expanded
       franchising, accessory categories, and its footwear house of brands. Going into 2011,
       we have great momentum in wholesale and international, improving domestic retail
       sales, and a strong balance sheet.”

       25.     On May 24, 2011, Collective Brands stock closed at $18.37 per share.

       26.     Then, after the market closed on May 24, 2011, Collective Brands announced

financial results for its first quarter of fiscal 2011, reporting earnings of $26.4 million or $0.42

diluted EPS for the first quarter, which was nearly 50% less than the $0.82 diluted EPS expected by

analysts. The Company further reported that net sales declined 1.1% to $869.0 million, due in
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substantial part to the Company’s 7.4% comparable store sales decline in its Payless Domestic

segment, offset by sales growth of 22.5% in PLG. The release stated in part:

               “We had a challenging first quarter driven by increasingly unfavorable
       economic conditions affecting mass market consumers as well as unseasonably cold
       weather. These factors unfavorably affected Payless stores in North America leading
       to lower customer traffic and sales. We are taking actions to provide better value to
       customers in light of these economic conditions. As a result, the second quarter is off
       to a better start,” said Matthew E. Rubel, Chairman, Chief Executive Officer and
       President of Collective Brands, Inc. “Other components of our hybrid business model
       continued to deliver strong results in the first quarter including PLG Wholesale,
       Payless Latin America, and franchising operations.”

       27.     On this news, Collective Brands’ stock plummeted $3.06 per share to close at $15.31

per share on May 25, 2011, a one-day decline of nearly 17% on high volume.

       28.     On May 25, 2011, Susquehanna Financial Group LLLP issued a report entitled

“Collective Brands, Inc.: Steep 1Q Miss Resets the Bar on Expectations.” The report stated in part:

              PSS’s surprisingly large 1Q EPS miss points to concerns over the balance of
       the year. We expect the shares to remain in the penalty box until measurable
       improvements in both sales and margin trends are seen.

       HIGHLIGHTS

               1Q EPS of $0.42 was well below our and the Street estimate of $0.82.

                                         *       *       *

              The magnitude of the domestic top-line miss is a concern moving
               forward. While weather clearly played a role in the domestic comp miss, we
               were surprised at the magnitude given strong footwear product trends
               industrywide. Most footwear retailers have reported solid 1Q comp results
               despite bad weather, difficult toning comparisons, and the late Easter.

       29.     Subsequently on June 15, 2011, defendant Rubel resigned from the Company.

       30.     Thereafter, on June 29, 2011, the Company attended an Oppenheimer & Co.

Consumer Conference with media representatives, analysts and investors, during which interim CEO

Michael Massey represented the following:

              [MASSEY:] Now I would like to discuss our Payless US operations.
       They’re the larger part of our operations, but they’re also the more challenged part of

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       our operations. The US business faces difficult trends. It has a mature base of
       approximately 3800 stores, as shown on the map. It has 4% market share and
       declining traffic and sales. Payless had a poor first-quarter performance. The drivers
       of the performance were unfavorable weather; gas and food inflation’s impact on the
       mass-market customer; product cost inflation, all of which drove a price value
       opposition, which we believe resulted in our customer not finding our product
       appealing.

                How did we get here? Well, economic adversity has accelerated the
       stratification of our customers and their behaviors. Our customers have wide
       variations in perception of our current value proposition. Some are okay with it.
       They are buying. We believe our more price sensitive customer is not. We
       significantly narrowed our product offerings relevant to our most price-sensitive
       consumers by raising our opening price points and increasing our proportion of
       SKUs at higher price points. Like other retailers in the last decade, we used a
       strategy of taking brands and prices up. We maximized margin rate, not margin
       dollars.

               Segments of our customers stopped responding to our brand and didn’t
       respond to our messaging. We didn’t react in time. Our messaging around value
       decreased significantly, especially to our most price-sensitive consumers. Our mass
       marketing spend decreased. Our message is focused on brand and lifestyle, not
       value, and our placement of advertising skewed to higher-end demographics, so,
       some of our customers left us.

               So what are we going to do about it? Well, we’re acting immediately. We are
       selectively reducing our initial mark-on targets and repricing our inventory. We
       are sharpening our promotional activity. We’re going to have bounce-back
       coupons, additional markdowns, and free shipping online with minimum purchase.
       Most importantly, we are doing something that many of our competitors can’t.
       We’re using our associates in our store. At Payless, it’s not just self-selection. You
       get service through our associates.

              So we’re giving our associate tools to increase engagement with the
       customers, to drive conversion. We’re adding staffing hours, customer conversion
       contests, and we have initiated a save-a-sale couponing through our store leaders.

       31.     The true facts, which were known by the defendants but concealed from the investing

public during the Class Period, were as follows:

               (a)    the Company’s inventory level for Payless remained at excessively high levels

and aging inventory for its Payless segment was a concern;

               (b)    sales at the Company’s flagship Payless stores were significantly worse than

expected due to deteriorating customer demand, including for its “expressive” consumers; and
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                 (c)    the Company was forced to mark down Payless’s bloated inventory at

significant discounts, which adversely affected the Company’s margins and financial results for its

first quarter.

        32.      As a result of defendants’ false statements, Collective Brands stock traded at

artificially inflated levels during the Class Period. However, after the above revelations seeped into

the market, the Company’s shares were hammered by massive sales, sending them down nearly 35%

from their Class Period high.

                             LOSS CAUSATION/ECONOMIC LOSS

        33.      During the Class Period, as detailed herein, the defendants made false and misleading

statements and engaged in a scheme to deceive the market and a course of conduct that artificially

inflated the price of Collective Brands common stock and operated as a fraud or deceit on Class

Period purchasers of Collective Brands common stock by misrepresenting the Company’s business

and prospects. Later, when the defendants’ prior misrepresentations and fraudulent conduct became

apparent to the market, the price of Collective Brands common stock fell precipitously, as the prior

artificial inflation came out of the price over time. As a result of their purchases of Collective

Brands common stock during the Class Period, plaintiff and other members of the Class suffered

economic loss, i.e., damages, under the federal securities laws.

                                        NO SAFE HARBOR

        34.      Collective Brands’ verbal “Safe Harbor” warnings accompanying its oral forward-

looking statements (“FLS”) issued during the Class Period were ineffective to shield those

statements from liability.

        35.      The defendants are also liable for any false or misleading FLS pleaded because, at the

time each FLS was made, the speaker knew the FLS was false or misleading and the FLS was

authorized and/or approved by an executive officer of Collective Brands who knew that the FLS was

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false. None of the historic or present tense statements made by defendants were assumptions

underlying or relating to any plan, projection or statement of future economic performance, as they

were not stated to be such assumptions underlying or relating to any projection or statement of future

economic performance when made, nor were any of the projections or forecasts made by defendants

expressly related to or stated to be dependent on those historic or present tense statements when

made.

                               CLASS ACTION ALLEGATIONS

        36.    Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of all persons who purchased or otherwise acquired Collective Brands

common stock during the Class Period (the “Class”). Excluded from the Class are defendants and

their families, the officers and directors of the Company, at all relevant times, members of their

immediate families and their legal representatives, heirs, successors or assigns and any entity in

which defendants have or had a controlling interest.

        37.    The members of the Class are so numerous that joinder of all members is

impracticable. The disposition of their claims in a class action will provide substantial benefits to

the parties and the Court. Collective Brands has over 60.5 million shares of stock outstanding,

owned by hundreds if not thousands of persons.

        38.    There is a well-defined community of interest in the questions of law and fact

involved in this case. Questions of law and fact common to the members of the Class which

predominate over questions which may affect individual Class members include:

               (a)     whether the 1934 Act was violated by defendants;

               (b)     whether defendants omitted and/or misrepresented material facts;

               (c)     whether defendants’ statements omitted material facts necessary to make the

statements made, in light of the circumstances under which they were made, not misleading;

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               (d)     whether defendants knew or deliberately disregarded that their statements

were false and misleading;

               (e)     whether the price of Collective Brands common stock was artificially inflated;

and

               (f)     the extent of damage sustained by Class members and the appropriate measure

of damages.

       39.     Plaintiff’s claims are typical of those of the Class because plaintiff and the Class

sustained damages from defendants’ wrongful conduct.

       40.     Plaintiff will adequately protect the interests of the Class and has retained counsel

who are experienced in class action securities litigation. Plaintiff has no interests which conflict

with those of the Class.

       41.     A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

                                            COUNT I

                     For Violation of §10(b) of the 1934 Act and Rule 10b-5
                                    Against All Defendants

       42.     Plaintiff incorporates ¶¶1-41 by reference.

       43.     During the Class Period, defendants disseminated or approved the false statements

specified above, which they knew or deliberately disregarded were misleading in that they contained

misrepresentations and failed to disclose material facts necessary in order to make the statements

made, in light of the circumstances under which they were made, not misleading.

       44.     Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

               (a)     employed devices, schemes and artifices to defraud;




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               (b)     made untrue statements of material facts or omitted to state material facts

necessary in order to make the statements made, in light of the circumstances under which they were

made, not misleading; or

               (c)     engaged in acts, practices and a course of business that operated as a fraud or

deceit upon plaintiff and others similarly situated in connection with their purchases of Collective

Brands common stock during the Class Period.

       45.     Plaintiff and the Class have suffered damages in that, in reliance on the integrity of

the market, they paid artificially inflated prices for Collective Brands common stock. Plaintiff and

the Class would not have purchased Collective Brands common stock at the prices they paid, or at

all, if they had been aware that the market price had been artificially and falsely inflated by

defendants’ misleading statements.

                                            COUNT II

                             For Violation of §20(a) of the 1934 Act
                                    Against All Defendants

       46.     Plaintiff incorporates ¶¶1-45 by reference.

       47.     The Individual Defendants acted as controlling persons of Collective Brands within

the meaning of §20(a) of the 1934 Act. By virtue of their positions with the Company, and

ownership of Collective Brands stock, the Individual Defendants had the power and authority to

cause Collective Brands to engage in the wrongful conduct complained of herein. Collective Brands

controlled the Individual Defendants and all of its employees. By reason of such conduct,

defendants are liable pursuant to §20(a) of the 1934 Act.

                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment as follows:

       A.      Declaring this action to be a proper class action pursuant to Fed. R. Civ. P. 23;

       B.      Awarding plaintiff and the members of the Class damages, including interest;
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          C.     Awarding plaintiff reasonable costs and attorneys’ fees; and

          D.     Awarding such equitable/injunctive or other relief as the Court may deem just and

proper.

                 JURY DEMAND AND DESIGNATION OF PLACE OF TRIAL

          Plaintiff hereby demands a trial by jury of all issues properly triable. Pursuant to Local Rule

40.2(a), Plaintiff hereby designates Kansas City, Kansas as the place of trial of this action.




DATED: January 25, 2012                             Respectfully submitted,

                                                    STUEVE SIEGEL HANSON LLP

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